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AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C, § 3582(c)(2) Page 1 of 2 (Page 2 Not for Public Disclosure)

UNITED STATES DISTRICT COURT

for the
Southern District of Georgia

Savannah Division
United States of America

V. )
) CaseNo: 4:98-cr-O00141-9 0
Willie F. Quarterman, Jr. )
) USMNo: 10004-0212
Date of Original Judgment: May 24,1999 )
Date of Previous Amended Judgment: Not Applicable ) MarkJ.Nathon eee

(Use Date of Last Amended Judgment if Any) Defendant 's Attorney

ORDER REGARDING MOTION FOR SENTENCE REDUCTION
PURSUANT TO 18 U.S.C. § 3582(c)(2)

Upon motion of [XJ the defendant [] the Director of the Bureau of Prisons (_] the court under 18 U.S.C.

§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10

and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,

IT IS ORDERED that the motion is:
DENIED. [JGRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
months is reduced to ee eel

the last judgment issued) of ;
(Complete Parts I and IT of Page 2 when motion is granted)

 

Except as otherwise provided, all provisions of the judgment dated | May 24, 1999, _ shall remain in effect.

IT IS SO ORDERED.
Order Date: Fé. IZ, 20/9 -

 

William T. Moore, Jr.

Effective Date: Judge, U.S. District Court a

(if different from order date) Printed name and title
